Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 1 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 2 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 3 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 4 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 5 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 6 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 7 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 8 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 9 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 10 of 59
      Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 11 of 59




To the Court and Whom it May Concern,

I make this statement about Easton Stokes regarding an incident that happened 17
years ago. My name is Jonathan Bassignani. I am currently a general engineer and
Chief of Projects who works for the Department of Veteran Affairs in the Engineering
Department. I currently supervise a staff of nine project managers overseeing $225M
dollars of design and construction projects.

In regards the incident, I believe it was a Saturday night in 2002 that a group of five of
us got together to celebrate a Birthday. Easton Stokes, Micah Black, Michael Santiago,
myself Jon Bassignani, and driver James Cardwell took a drive out to Bodega Bay. We
wanted to hang out at a camping area in the Bodega Bay Salmon Creek area. All five of
us met up in Occidental to drive out together in one small car.

When we reached a tight turn in Bodega Bay, our driver missed the almost U turn and
slammed his brakes on. We hit the guardrail on the right shoulder; Mr. stokes was in the
front passenger seat closest to the point of impact. We got out to look and saw there
was limited damage to the car. This is the major turn past the Boat House and Bodega
store on route up the coast. In standard teenage fashion, we acted uncaring and
unperturbed about the fact that we almost were involved in a very serious car accident,
and we continued on to our destination in a festive mood. I cannot fully remember the
time but it was dark almost pitch black and must have been around 9pm - 10pm. Our
plan was to stay out a few hours, party and return back home.

We found our beach destination and a short while later noticed Mr. Stokes had started
acting a little strange. He was talking about our relationships with current girlfriends and
about one girlfriend he had been dating. When we made our way down to the beach,
Mr. Stokes ran down and disappeared away from us. We noticed that Mr. Stokes was
not acting as himself and seemed to have been in shock and panicked. We thought
maybe he had been drinking. We found a group of people who had made a large bon
fire on the beach and we introduced ourselves as they asked us to hang out with them
at the fire if we wanted to.

We spent time around the fire for a good 30 minutes or and Mr. Stokes had
disappeared. He came back and tossed his shirt and a pocket item into the fire. At this
point we knew we had to take Mr. Stokes home because he didn't seem like himself and
we did so. Mr. Stokes asked us to bring him back home to Barker families house where
he had been staying for the past year as a guest and very close friend to the family.

While driving home, Mr. Stokes stated that he felt that he wanted to go to a doctor to
make sure he was ok and that he was not feeling like himself. I offered to take him to
the hospital the next day.

The next day I got a call from the Barker family — I believe their son Don Barker told me
that Mr. Stokes wanted to check himself in to the local Mental Health hospital in Santa
Rosa that he still wanted help and did not feel like himself. Mr. Barker said that he and
        Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 12 of 59




his mother Nancy Barker would drive him. I told the Barker's that I would meet them
there.

I arrived at the Mental Hospital in Santa Rosa the next day shortly after Mr. Stokes
checked himself into the clinic.

In my view and experience at the time, I felt that Mr. Stokes had a very bad panic attack
probably due to the near death experience and accident we had the night before.
Looking back, I think we all in our youthful exuberance brushed off the close encounter
when we really should have been feeling the same as Mr. Stokes. Mr. Stokes did
voluntarily seek treatment and had even asked me to drive him to the hospital the day
before he went. From my perspective, this was the act of a responsible person who was
in shock and scared from recent events who had a psychological issue but had enough
mental capacity to voluntarily know that something within himself was not right and ask
for help.

I declare under the penalty of perjury that the above is true and correct to the best of my
recollection.




\\HP°
Date:                              than Bassignani:
        Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 13 of 59



November 3, 2020

Micah Black
8944 Bowers Street
Graton, CA 95444

The Superior Court of California - County of Sonoma

Your Honor,

I am writing this letter in support of restoring the Second Amendment rights of Easton Stokes. It is my
understanding that this right was taken away from him seventeen years ago due to an isolated incident
in which I was a witness to. To the best of my recollection and understanding, the incident in question
was a minor incident. It was devoid of any form of threat or violence, and I feel that Mr. Stokes’ right to
keep and bear Arms should not be infringed upon because of it.

I know Mr. Stokes as well as anyone. We have known each other for about thirty years, spent almost
every weekend of our childhood together, and I was honored to have him as my best man in my
wedding. During all this time together, I have never witnessed any event that would cause me to
consider him a dangerous person, including the event in question.

The event in question occurred on a weekend night during our senior year of high school. It was a typical
weekend evening for us. A group of five, including myself, drove out to the coast to hang out on the
beach for the evening. The evening became atypical when our group noticed that Easton was not his
usual self. He began talking about concepts that seemed very deep and meaningful, even spiritual.
However, much of this did not make any sense to me. Over the next couple hours, his condition became
more concerning. It seemed that he might be having some hallucinations, and kept talking about seeing
a blue light, which nobody else saw. When he threw his jacket into a bonfire we knew that we had to get
him home. Understandably, we were all a little shaken up, as we had never experienced anything like
this before. But the next morning it was Easton, above everyone else, who understood that he should
seek some medical help. With help from friends, he admitted himself to a mental health facility out of
an abundance of caution.

At no time during the event in question did I witness any violent or threatening act from Easton Stokes,
or feel that he was capable of any such behavior. He had a small and short-lived mental breakdown, and
was well enough to want to seek help as a precaution. I feel that this event should not dictate that any
of his constitutionally-given rights be taken away from him.

I declare under penalty of perjury that the above statement is true and correct to the best of my
recollection.

Micah Black
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 14 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 15 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 16 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 17 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 18 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 19 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 20 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 21 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 22 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 23 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 24 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 25 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 26 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 27 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 28 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 29 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 30 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 31 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 32 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 33 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 34 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 35 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 36 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 37 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 38 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 39 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 40 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 41 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 42 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 43 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 44 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 45 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 46 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 47 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 48 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 49 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 50 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 51 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 52 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 53 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 54 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 55 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 56 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 57 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 58 of 59
Case 3:19-cv-04613-WHA Document 72 Filed 11/05/20 Page 59 of 59
